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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       Case No. 06-20663

D16, RASHAWN SIMMONS                                     HONORABLE AVERN COHN

           Defendant.
___________________________________/


                              ORDER DENYING MOTION
                            FOR RELIEF FROM JUDGMENT

       Defendant has filed a motion styled Motion For Relief From Final judgment Under

Rule 60(b)(6) (Doc. 584). The motion is DENIED. The pending charge in state court at the

time of sentencing played no role in the sentence imposed on defendant. See Exhibit A

(Excerpt of letter from Probation Officer)

       SO ORDERED.


Dated: January 8, 2010                        s/ Avern Cohn
                                             AVERN COHN
                                             UNITED STATES DISTRICT JUDGE



I hereby certify that a copy of the foregoing document was mailed to Rashawn Simmons,
41327-039, FCI Beckley, P.O. Box 350, Beaver, WV 25813 and the attorneys of record on
this date, January 8, 2010, by electronic and/or ordinary mail.


                                              s/ Julie Owens
                                             Case Manager, (313) 234-5160
